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         November 1, 2020                                                                            VIA ECF

        Judge John G. Koeltl
        United States District Judge
        United States District Court, Courtroom 619
        40 Foley Square
        New York, New York 10007

                              Re:          Mancha v. Scripps Media, Inc., 19-cv-9179 (JGK)

         Dear Judge Koeltl:

         I am counsel to Defendant Scripps Media, Inc. ("Scripps") in the above-referenced
         copyright infringement matter brought by Plaintiff Victoria Mancha ("Mancha"),
         via her counsel Richard Liebowitz. On October 30, 2020, the Court issued a Minute
         Entry, scheduling oral argument in connection with Scripps' motion to dismiss the
         Amended Complaint to take place at 3:30 p.m. on November 17, 2020.

         As I have advised Mr. Liebowitz, I already have an oral argument scheduled in
         another matter to take place at 4:00 p.m. that dame day, and therefore seek to
         reschedule the oral argument in this matter. In accordance with Section I.E. of Your
         Honor's Individual Practices, I am writing to request that the Court reschedule the
         argument to the afternoon of November 25, 2020 (which is available for counsel to
         both parties), or such other date that is convenient for the Court and the parties.
         This is the first request for adjournment or extension, and opposing counsel
         consents to the request.


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                                                                               Hillel I. Parness

         cc:                  Counsel of Record (via ECF)
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